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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF PENNSYLVANIA
JOHNSTOWN DIVISION

UNITED STATES OF AMERICA )

)
)

 

 

 

Plaintifffs)

. ) 3:20-cr-7
BRIAN GIDNEY Gtr co’)

 

 

 

 

Defendant(s)

Arraignment and Detention Hearing

HEARING ON 6719/2020 at 3:30 p.m.

 

Before Judge Keith A. Pesto

M aur Cea Sbedb_- Poelchen

 

 

 

 

 

 

 

 

 

 

 

 

AcrrottBernard, AUSA by ee Komron Maknoon, Esq.
Appear for Plaintiff Appear for Defendant
Hearing began 3 yea pron Hearing adjourned to
‘ Stenographer
Hearing concluded C.A.V. “4:5 0p Shirley Hall
‘
LJ iknss Lak Selker ( Lb) Lk le Tse - ATE Gy Ban)
; Cv

NG, WW 5 mf Palanan — See oP my Ae okeak
“Y Del boro = Ja) pda We

 

 

 

 

 
